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                                #:10396




                 EXHIBIT 79
REDACTED PURSUANT TO ORDER OF THE COURT DATED OCTOBER 14, 2021
            Case
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                                             #:10397
                                               ID #:7417
     Message


     From:                 EH [tj76.jeong@samsung.com]

     Sent:              7/3/2017 2:45:23 PM
     To:                Nicholas Peter Marchewka [n.marchewka@samsung.com]; Ronald Skaggs [scott.skaggs@samsung.com]
     CC:                717I     [kihoon74.kim@samsung.com];              --i?J [hsangyoo@samsung.com]; 0 I7-- [ky1217.lee@samsung.com];
                                 [liz.park@samsung.com]; Dana Olson [d.olson@partner.samsung.com]
     Subject:           RE: RE: Re: MZILS48OHEGR-00007




     Hi Nick,


     We don't have Q3 PA to support Netlist. All of PA is assigned for Corsair and Ma Labs support. If we do have


     more PA, we can discuss about Netlist.


     Thanks.




     Ti ieong


     US. NW Sales




     Samsung Electronics

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                 Original Message

     Sender :Nicholas Peter Marchewka <n.marchewka@samsung.com> Specialist Sr/Americas Office(DS)-Sales Ops

     Exec/

     Date :2017-07-01 06:21 (GMT+9)

     Title :RE: Re: MZ1L5480HEGR-00007




     Hey Ti,

     Here is the latest SSD backlog. Please note that we alot of Netlist backlog, but Idon't think we are supposed to
     support, correct?

     Hi Scott,

     As we discussed earlier, please send the Ma demand for 03'17 so Ti can work on product mix.

     Thanks,

     Nick




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                                              ID #:7418


     From:       EF]J [mailto:tj76.jeong@samsung.com]
     Sent: Thursday, June 29, 2017 11:50 PM
     To: Scott Skaggs <scott.skaggs@samsung.com>; Nicholas Marchewka <n.marchewka@samsung.com>
     Cc: Lane Kim <kihoon74.kim@samsung.com>; Harrison Yoo <hsang.yoo@samsung.com>; Daniel (Kyong Yong) Lee-
     mySingle <ky1217.lee@samsung.com>; Liz Park <Iiz.park@samsung.com>; Dana Olson
     <d.olson@partner.samsung.com>
     Subject: RE: Re: MZILS48OHEGR-00007



     Scott,


     We are late for requesting July production, we will try for August production.




     Nick,


     Could you share Q3 SSD P0 status with us? We will adjust P-Mix according to POs.




     Thanks.




     TJ Jeong


     US. NW Sales


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                Original Message

     Sender :Ronald Skaggs <scott.skaggs@samsung.com> Manager/Americas Office(DS)-W2 Sales!

     Date :2017-06-30 10:22 (GMT+9)

     Title :Re: MZlLS480HEGR-00007



     Hi    TJ
     The      sooner    the better.          But    ± believe         she gave       them standard lead time.                    4-6    weeks


                      Original Message

     From:                <tj76.jeong@samsung.com<mailto:tj76.jeong@samsung.com>>
     Date:      Thu,    Jun    29,    2017,      6:05    PM
     To:      Scott    Skaggs     <scott.skaggs@samsung.com<mailto:scott.skaggs@samsung.com>>,Lane                                                   Kim
     <kih00n74.kim@sarnsung.com<mailto:kih00n74.kim@sarnsung.com>>,Harrison                                                   Yoo
     <hsang.yoo@samsung.com<mailto:hsang.yoo@samsung.com>>,Nicholas Marchewka




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                                            #:10399
                                              ID #:7419
     <n.marchewka@samsung.com<mailto:n.marchewka@samsung.com>>, "Daniel                                             (Kyong    Tong)   Lee-
     mySingle"          <ky1217.lee@samsung.com<mallto:ky1217.lee@samsung.com>>,Liz                                       Park
     <liz.park@samsung.com<mailto:llz.park@samsung.com>>
     CC:    Dana    Olson       <d.olson@partner.samsung.com<mailto:d.olson@partner.samsung.com>>
     Subject:       RE:       MZILS4SOHEGR-00007


     Scott,


     We    need    to    review       it   with    sales    strategy     team,      in    addition     to    that    need    to   secure   PA
     even    small       volume.


     When    does       she    need    these      drives?


     Thanks.




     TJ    Jeong


     US.    NW    Sales


     Samsung       Electronics


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